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                                          U.S. Department of Justice
 [Type text]
                                                     United States Attorney
 w                                                   Southern District of New York
                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     May 3, 2021

 BY EMAIL

 The Honorable J. Paul Oetken
 United States District Judge
 Southern District of New York
 Thurgood Marshall U.S. Courthouse
 40 Foley Square
 New York, New York 10007

        Re:     In re Search Warrant dated April 21, 2021, 21 Mag. 4335
                In re Search Warrant dated April 28, 2021, 21 Mag. 4591

 Dear Judge Oetken:

        The Government respectfully writes pursuant to the Court’s Order, dated April 30, 2021,
 which directed the parties to confer regarding proposed redactions to the Government’s April 29,
 2021 letter. The Government and counsel for Ms. Toensing have agreed upon a set of redactions,
 which the Government will transmit to the Court under separate cover. Counsel for Mr. Giuliani
 does not oppose those redactions.

         In addition, the parties have agreed upon the following briefing schedule for the Court’s
 consideration: Mr. Giuliani and Ms. Toensing shall file any response to the Government’s April
 29, 2021 letter by May 10, 2021, and the Government’s reply shall be filed by May 17, 2021.
 Given the potential need for redactions, the Government respectfully requests that each party file
 their letter responses under seal, and the parties be given two business days thereafter to confer
 regarding redactions (i.e., until May 12, 2021, and May 19, 2021, respectively).

   The proposed redactions are approved and          Respectfully submitted,
the redacted version of the government's April
                                                     AUDREY STRAUSS
29, 2021 letter is hereby made public and will
                                                     United States Attorney for the
be docketed.
                                                     Southern District of New York
   The parties' proposed briefing schedule is
approved.                                        By: _____/s/_______________________
   So ordered:                                       Rebekah Donaleski
       May 4, 2021                                   Nicolas Roos
                                                     Aline R. Flodr
                                                     Assistant United States Attorneys
                                                     (212) 637-2423/ 2421/ 1110
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Cc: Robert Costello, Esq. (counsel for Rudolph Giuliani)
   Michael Bowe, Esq./ E. Patrick Gilman, Esq. (counsel for Victoria Toensing)
